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IN THE UNITED STATES DISTRICT COURT for the
DISTRICT of NEW JERSEY
(Camden Vicinage)
HN REALTY, INC.

Plaintiff : CIVIL ACTION
V. :

SENECA SPECIALTY INSURANCE
Defendant
PETITION FOR REMOVAL

To the Honorable Judges of the United States District Court
for the District of New Jersey

Defendant, Seneca Specialty Insurance Company hereby files a Notice of Removal of this
action from the Superior Court of New Jersey, Law Division, Camden County in which it is now
pending to the United States District Court for the District of New Jersey, and in support thereof
states:

1. Petitioner exercises its rights under 28 U.S.C. § 1441 to remove this action from
the Superior Court of New Jersey, Law Division, Camden County , in which it is now pending.

2. This action is docketed in the Superior Court of New Jersey, Law Division,
Camden County at No. CAM-L-01835-18.

3. The summons and complaint were served upon the defendant Seneca no later than
May 21, 2018.

4. This is an action in which the District Courts of the United States have diversity
jurisdiction pursuant to 28 U.S.C. § 1332, as plaintiff is upon information and belief a New
Jersey corporation, with its principal place of business in New Jersey at 2 Herbert Place, Jersey

City, New Jersey, and defendant is an insurance company organized and existing pursuant to the
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laws of the State of Delaware, with its principal place of business at 160 Water Street, New
York, New York.
5. There is complete diversity between plaintiff and defendant, and the amount in

controversy exceeds the sum of seventy-five thousand dollars ($75,000.00) exclusive of interest

and costs.
6. A copy of the complaint received by defendant is attached and incorporated.
7. This notice is timely as it is being filed within thirty days of service of any

pleading or other document identifying removable claims.
8. Pursuant to 28 U.S.C. § 1446, a copy of this Notice is being filed with the
Superior Court of New Jersey, Law Division, Camden County.
9. Wherefore, notice is hereby given that this action is removed to the United States
District Court for the District of New Jersey.
Respectfully submitted,

Dugan, Brinkmann, Maginnis and Pace

By: WI, ) \ —
Gerald J. Dugan, Hage
gjdugan@dbmplaw.dom
Suite 1400
1880 John F. Kennedy Blvd.
Philadelphia, PA 19103
215-563-3500 (Tel.) 215-563-5610 (Fax)
Attorney for Defendant,
Seneca Specialty Insurance Company
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CERTIFICATE OF SERVICE

I, Gerald J. Dugan, Esquire, attorney for defendant, do hereby certify that a copy of the

foregoing Notice of Removal was served upon counsel for plaintiff by first-class mail, postage
4
prepaid this bo day of June 2018, addressed as follows:
Anthony Diulio, Esquire
Law Offices of Jonathan Wheeler, P.C..
One Penn Center, Suite 1270

1617 John F. Kennedy Blvd.
Philadelphia, PA 19103

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Gerald J. cae ee

 

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LAW OFFICES OF JONATHAN WHEELER, P.C.

BY: Anthony DiUlio, Esquire Attorney for Plaintiff(s)
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Philadelphia, PA 19103

(856) 874-1447

E-mail: adiulio@jwheelerlaw.com

 

HN REALTY, INC. SUPERIOR COURT OF NEW JERSEY
789 Newark Avenue LAW DIVISION

Jersey City, NJ 07306
CAMDEN COUNTY
VS.
DOCKET NO.: CAM-L-01835-18
SENECA SPECIALTY INSURANCE
1209 Orange Street

Wilmington, DE 19801 SUMMONS

 

From The State of New Jersey, To The Defendant(s) Named Above:

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute this
complaint, you or your attorney must file a written answer or motion and proof of service with the
deputy clerk of the Superior Court in the county listed above within 35 days from the date you
received this summons, not counting the date you received it. (The address of each deputy clerk
of the Superior Court is provided.) If the complaint is one in foreclosure, then you must file your
written answer of motion and proof of service with the Clerk of the Superior Court, Hughes Justice
Complex, CN-971 Trenton, NJ 08625. A $175.00 filing fee payable to the clerk of the Superior
Court and a completed Case Information Statement (available from the deputy clerk of the Superior
Court) must accompany your answer or motion when it is filed. You must also send a copy of your
answer or motion to plaintiffs attorney whose name and address appear above, or to plaintiff, ifno
attorney is named above. A telephone call will not protect your rights; you must file and serve a
written answer of motion if you want the court to hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court may enter
a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment
is entered against you, the Sheriff may seize your money, wages or property to pay all or part of the
judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county where
you live. A list.of these offices is provided. If you do not have an attorney and are not eligible for
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free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral
Services. A list of these numbers is also provided.

/s/_ Michelle M. Smith
Michelle M. Smith, Acting Clerk
of the Superior Court

DATED: May 17, 2018

Name and Address of Defendant for Service:

SENECA SPECIALTY INSURANCE
1209 Orange Street
Wilmington, DE 19801
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LAW OFFICES OF JONATHAN WHEELER, P.C.

BY: Anthony DiUlio, Esquire Attorney for Plaintiff(s)
NJ Attorney ID : 018072012

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HN REALTY, INC. SUPERIOR COURT OF NEW JERSEY

789 Newark Ave. LAW DIVISION
Jersey City, NJ 07306
CAMDEN COUNTY
vs,
DOCKET NO.:
SENECA SPECIALTY INSURANCE
COMPANY CIVIL ACTION COMPLAINT,
1209 Orange Street DESIGNATION OF TRIAL COUNSEL
Wilmington, DE 19801 AND JURY DEMAND

 

Plaintiff(’s), HN Realty, Inc. owning a building at residing at 789 Newark Ave., Jersey
City, NJ 07306, by way of Complaint against the Defendant, Seneca Specialty Insurance
Company, say:

FIRST COUNT

1.  Atall times referred to herein, Defendant, Seneca Specialty Insurance Company,
is a business duly organized and existing which is licensed to issue policies of insurance in the -
State of New Jersey and maintains a place of business located at 1209 Orange Street,
Wilmington, DE 19801.

2. Defendant, in its regular course of business issued to Plaintiff a policy of

insurance covering Plaintiff's premises located at 789 Newark Ave., Jersey City, NJ 07306. A
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copy of the Policy is not in Plaintiffs’ possession, but a copy of same is believed to be in
Defendant's care, custody and control.

3. On or about: 8/2/2017, while said policy of insurance was in full force and effect,
Plaintiffs suffered direct physical loss to the insured premises.

4, Notice of this covered loss was given to Defendant in a prompt and timely manner
and Plaintiff has done and otherwise performed all things required of Plaintiff under the policy of
insurance issued by Defendant.

5. Defendant, despite demand for benefits under its policy of insurance has failed
and refused to pay to Plaintiff those benefits due and owing under said policy of insurance.

6. Defendant has breached its contractual obligations to pay benefits to Plaintiff for a
loss covered under Defendant's policy of insurance.

te Solely as a result of Defendant's failure and refusal to pay benefits to Plaintiff as
required under the aforesaid policy of insurance, Plaintiff has suffered loss and damage to the
property, forcing expenses to be incurred to repair and replace the damaged property.

WHEREFORE, Plaintiff demands judgment against Defendant for compensatory
damages, attorney's fees, costs of suit, and such other relief as the Court may deem equitable and
just.

DESIGNATION OF TRIAL COUNSEL

Pursuant to Rule 4:25-4, Anthony DiUlio, Esquire, is hereby designated as trial counsel’

in the above captioned litigation on behalf of the firm of Law Offices of Jonathan Wheeler, P.C.
DEMAND FOR TRIAL BY JURY
Plaintiff hereby demands a trial by jury on all the issues so triable herein.

CERTIFICATION PURSUANT TO RULE 4:51
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The matter in controversy is not the subject of any other action pending in any other
Court. There are no pending arbitration proceedings. No other action or arbitration proceedings
are contemplated. No non-party is known who would be subject to joinder because of potential
liability.

I hereby certify that the foregoing statements made by me are true. I am aware that if any
of the foregoing statements made by me are willfully false, I am subject to punishment.

LAW OFFICES OF JONATHAN WHEELER, P.C.

 

BY:

 

ANTHONY DIULIO, ESQUIRE
Attomey for Plaintiff(s)
